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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION


 ICEUTICA PTY LTD and
 IROKO PHARMACEUTICALS, LLC,

                          Plaintiffs,
                                                       Civil Action No. __________
         v.

 LUPIN LIMITED and LUPIN                               JURY TRIAL DEMANDED
 PHARMACEUTICALS, INC.,

                          Defendants.


                                           COMPLAINT

        For their Complaint against Defendants Lupin Limited and Lupin Pharmaceuticals,

Inc. (collectively “Lupin”), Plaintiffs iCeutica Pty Ltd (“iCeutica”) and Iroko

Pharmaceuticals, LLC (“Iroko”) (collectively “Plaintiffs”), by and through their attorneys,

hereby allege as follows:

                                    NATURE OF THE ACTION

        1.       This is an action for infringement of United States Patent No. 9,526,734 (“the

’734 patent”) under the Patent Laws of the United States, 35 U.S.C. § 100 et seq., including §§

271(e)(2) and 271(a), and for a declaratory judgment of infringement of the ’734 patent under 28

U.S.C. §§ 2201 and 2202 and 35 U.S.C. § 271(a). Plaintiffs institute this action to enforce their

patent rights covering VIVLODEX® brand Meloxicam capsules 5 mg and 10 mg that are

approved in the United States by the U.S. Food and Drug Agency (“FDA”) for the management

of osteoarthritis pain.


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                                             PARTIES

       2.       Plaintiff iCeutica Pty Ltd is a company organized and existing under the laws of

Australia with a principal place of business at Unit 2, 32 Mumford Place, Balcatta Western

Australia 6021.

       3.       Plaintiff Iroko Pharmaceuticals, LLC is a limited liability company organized and

existing under the laws of Delaware, with a principal place of business at One Kew Place, 150

Rouse Boulevard, Philadelphia, PA, 19112.

       4.       On information and belief, Defendant Lupin Limited is a corporation organized

and existing under the laws of India, with a registered office at Kalpataru Inspire, 3rd Floor, Off.

Western Express Highway, Santacruz (East), Mumbai 400 055 India.

       5.       On information and belief, Defendant Lupin Pharmaceuticals, Inc. (“LPI”) is a

corporation organized under the laws of the Delaware, having a principal place of business at

Harborplace Tower, 111 South Calvert Street, 21st Floor, Baltimore, Maryland 21202.

       6.       On information and belief, LPI is a wholly-owned subsidiary of Lupin Limited.

On information and belief, LPI is the United States marketing and sales agent for Lupin Limited,

and is engaged in the sale and distribution of generic versions of branded pharmaceutical

products, including those manufactured by Lupin Limited, in the United States, including in the

State of Maryland, through its own systematic, continuous, constant and pervasive actions and

through those of its agents.

       7.       On information and belief, Lupin Limited is in the business of, among other

things, developing, manufacturing, packaging, and selling generic versions of branded

pharmaceutical products for the United States market, including in the State of Maryland,

through its own systemic, continuous, constant and pervasive actions and through those of its
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agents and operating subsidiaries, including its wholly-owned subsidiary, LPI.

        8.       On information and belief, Lupin Limited has previously submitted to this Court’s

jurisdiction. See e.g., Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612,

D.I. 27 (D. Md. June 27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et

al., No. 8:15-cv-003437, D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin

Pharmaceuticals, Inc. et al., No. 1:15-cv-01956, D.I. 24 (D. Md. Sept. 8, 2015).

        9.       On information and belief, Lupin Limited has purposefully availed itself of the

jurisdiction of this Court by, inter alia, asserting counterclaims in lawsuits filed against it in this

District. See e.g., Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612, D.I.

27 (D. Md. June 27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et al.,

No. 8:15-cv-003437, D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin

Pharmaceuticals, Inc. et al., No. 1:15-cv-01956, D.I. 24 (D. Md. Sept. 8, 2015).

        10.      On information and belief, LPI has previously submitted to this Court’s

jurisdiction. See e.g., Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612,

D.I. 27 (D. Md. June 27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et

al., No. 8:15-cv-003437, D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin

Pharmaceuticals, Inc. et al., No. 1:15-cv-01956, D.I. 24 (D. Md. Sept. 8, 2015).

        11.      On information and belief, LPI has purposefully availed itself of the jurisdiction

of this Court by, inter alia, asserting counterclaims in lawsuits filed against it in this District. See

e.g., Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612 D.I. 27 (D. Md.

June 27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et al., No. 8:15-

cv-003437 D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin Pharmaceuticals,

Inc. et al., No. 1:15-cv-01956 D.I. 24 (D. Md. Sept. 8, 2015).
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       12.     On information and belief, LPI is a licensed drug wholesaler in Maryland.

       13.     On information and belief, Lupin Limited and LPI have common officers and

directors and have represented to the public that they are a unitary entity.

                                 JURISDICTION AND VENUE

       14.     This action arises under the patent laws of the United States of America, United

States Code, Title 35, Section 1, et seq., including §§ 271(e)(2) and 271(a), and 28 U.S.C. §§

2201 and 2202. This Court has subject matter jurisdiction over the action under 28 U.S.C. §§

1331, 1338, 2201, and 2202.

       15.     This Court has personal jurisdiction over Lupin Limited by virtue of the fact that,

inter alia, Lupin Limited has committed, or aided, abetted, contributed to, and/or participated in

the commission of, the tortious act of patent infringement that has led to foreseeable harm and

injury to Plaintiffs and has engaged in purposeful systematic and continuous contacts with the

State of Maryland. This Court has personal jurisdiction over Lupin Limited for the additional

reasons set forth in this Complaint.

       16.     This Court has personal jurisdiction over Lupin Limited because, on information

and belief, Lupin Limited regularly does business in Maryland and has engaged in a persistent

course of purposeful conduct within Maryland by continuously and systematically placing goods

into the stream of commerce for distribution throughout the United States, including Maryland,

and/or by directly selling pharmaceutical products in Maryland. In its 2016 Annual Report Lupin

notes that it is “the 5th largest pharmaceutical player in the U.S.” and, through LPI, is “dedicated

to delivering high-quality, branded and generic medicines trusted by healthcare professionals and

patients across the U.S.”

       17.     This Court has personal jurisdiction over Lupin Limited because Lupin Limited
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has previously been sued in this district and has not challenged personal jurisdiction, and Lupin

Limited has affirmatively availed itself of the jurisdiction of this Court by filing counterclaims in

this district. See e.g., Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612

D.I. 27 (D. Md. June 27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et

al., No. 8:15-cv-003437 D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin

Pharmaceuticals, Inc. et al., No. 1:15-cv-01956 D.I. 24 (D. Md. Sept. 8, 2015).

       18.     This Court also has personal jurisdiction over Lupin Limited by virtue of, inter

alia, the fact that it has availed itself of the rights and benefits of Maryland law, and has engaged

in systematic, continuous, constant and pervasive contacts with the State. On information and

belief, Lupin Limited has authorized distributors for its generics located in Maryland and derives

substantial revenue from articles sold, used, and/or consumed in Maryland. In its 2016 Annual

Report, Lupin acknowledges that, through LPI, it has a network of distributors to market its

generic drugs in every state, including Maryland, because “LPI enjoys strong brand equity in the

US wholesale and retail channels as a preferred supplier of quality generics.” Lupin’s generic

drugs are included on Maryland’s Preferred Drug List and are sold through various channels,

including CVS Pharmacy, which has over 220 locations in the state of Maryland.

       19.     This Court has personal jurisdiction over Lupin Limited because, on information

and belief, Lupin Limited, acting in concert with LPI, has engaged in conduct that reliably

predicts Maryland activities by Lupin. On information and belief, Lupin Limited, by acting in

concert with LPI and submitting ANDA No. 209-487, has taken the significant step of applying

to the FDA for approval to engage in future activities—including wrongful marketing of its

generic drugs—that will be purposefully directed at Maryland.

       20.     This Court has personal jurisdiction over LPI by virtue of the fact that, inter alia,
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LPI has committed, or aided, abetted, contributed to, and/or participated in the commission of,

the tortious act of patent infringement that has led to foreseeable harm and injury to Plaintiffs

and has engaged in purposeful systematic and continuous contacts with the State of Maryland.

This Court has personal jurisdiction over LPI for the additional reasons set forth in this

Complaint.

        21.     This Court has personal jurisdiction over LPI because, on information and belief,

LPI regularly does business in Maryland and has engaged in a persistent course of purposeful

conduct within Maryland by continuously and systematically placing goods into the stream of

commerce for distribution throughout the United States, including Maryland, and/or by directly

selling pharmaceutical products in Maryland. In its 2016 Annual Report Lupin notes that it is

“the 5th largest pharmaceutical player in the U.S.” and, through LPI, is “dedicated to delivering

high-quality, branded and generic medicines trusted by healthcare professionals and patients

across the U.S.”

        22.     This Court has personal jurisdiction over LPI because LPI has previously been

sued in this district and has not challenged personal jurisdiction, and LPI has affirmatively

availed itself of the jurisdiction of this Court by filing counterclaims in this district. See e.g.,

Shire Development LLC et al v. Lupin Limited et al., No. 1:16-cv-00612, D.I. 27 (D. Md. June

27, 2016); Shire Pharmaceutical Development Inc. et al v. Lupin Limited et al., No. 8:15-cv-

003437, D.I. 11 (D. Md. Jan. 12, 2016); Gilead Sciences, Inc. et al v. Lupin Pharmaceuticals,

Inc. et al., No. 1:15-cv-01956, D.I. 24 (D. Md. Sept. 8, 2015).

        23.     This Court also has personal jurisdiction over LPI by virtue of, inter alia, the fact

that it has availed itself of the rights and benefits of Maryland law, and has engaged in

systematic, continuous, constant and pervasive contacts with the State. LPI is a licensed drug
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wholesaler in Maryland and has its principal place of business in Baltimore, Maryland. On

information and belief, LPI, together with Lupin Limited, has authorized distributors for its

generics located in Maryland and derives substantial revenue from articles sold, used, and/or

consumed in Maryland. In its 2016 Annual Report, Lupin acknowledges that, through LPI, it has

a network of distributors to market its generic drugs in every state, including Maryland, because

“LPI enjoys strong brand equity in the US wholesale and retail channels as a preferred supplier

of quality generics.” Lupin’s generic drugs are included on Maryland’s Preferred Drug List and

are sold through various channels, including CVS Pharmacy, which has over 220 locations in the

state of Maryland.

       24.     This Court has personal jurisdiction over LPI because, on information and belief,

LPI, acting in concert with Lupin Limited, has engaged in conduct that reliably predicts

Maryland activities by Lupin. On information and belief, LPI, by acting in concert with Lupin

Limited and submitting ANDA No. 209-487, has taken the significant step of applying to the

FDA for approval to engage in future activities—including wrongful marketing of its generic

drugs—that will be purposefully directed at Maryland.

       25.     On information and belief, LPI and Lupin Limited operate as an integrated

business ultimately controlled by Lupin Limited. In its 2016 Annual Report, Lupin Limited

acknowledged that LPI’s “strong commercial capabilities in the U.S. market for generic drug

products have made LPI a key contributor to Lupin Limited’s growth.”

       26.     Venue is proper in this district under 28 U.S.C. §§ 1391 and 1400(b).

                                 FACTUAL BACKGROUND

       27.     The ’734 patent, entitled “Formulation of Meloxicam,” issued on

December 27, 2016 and names H. William Bosch as the inventor. A true and accurate copy of
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the ’734 patent is attached hereto as Exhibit A.

       28.     iCeutica, as assignee, owns the entire right, title and interest in the ’734 patent.

       29.     Iroko is the exclusive licensee to the ’734 patent in the United States.

       30.     Collectively, Plaintiffs are in possession of all rights, title and interest in and to

the ’734 patent, including all rights to sue and recover for infringement thereof.

       31.     Iroko is the holder of an approved New Drug Application (“NDA”) No. 20-7233

for Meloxicam capsules 5 mg and 10 mg, sold under the VIVLODEX® registered trademark.

       32.     In conjunction with that NDA, Iroko has listed with the FDA the ’734 patent. The

FDA has published the ’734 patent in the Approved Drug Products with Therapeutic

Equivalence Evaluations (commonly referred to as the “Orange Book”).

       33.     VIVLODEX ® is covered by at least one claim of the ’734 patent.

       34.     On or about January 4, 2017, Plaintiffs received a letter, dated

December 27, 2016, signed on behalf of Lupin Limited by Joseph Reisman (“Lupin’s Paragraph

IV Letter”).

       35.     Lupin’s Paragraph IV Letter stated that Lupin Limited had submitted, and the

FDA had received, an Abbreviated New Drug Application (“ANDA”) under section

505(j)(2)(B)(ii) of the FDCA, seeking approval to engage in the commercial manufacture, use,

importation, offer for sale, or sale of Meloxicam capsules 5 mg and 10 mg, a generic version of

the VIVLODEX® product, prior to expiration of the ’734 patent. The ANDA Number for

Lupin’s application is 209-487.

       36.     On information and belief, LPI is the authorized representative for Lupin Limited

concerning ANDA No. 209-487.

       37.     Lupin’s Paragraph IV Letter stated that the ’734 patent is invalid and/or would not
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be infringed by the commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg.

        38.      Attached to Lupin’s Paragraph IV Letter was a statement of the factual and legal

bases for Lupin’s opinion that the ’734 patent is invalid, unenforceable, and/or would not be

infringed by the commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg.

        39.      In filing its ANDA No. 209-487, Lupin has requested the FDA’s approval to

market a generic version of the VIVLODEX® product throughout the United States, including in

this judicial district.

        40.      On information and belief, following FDA approval of ANDA No. 209-487,

Lupin Limited will manufacture, sell, offer to sell, and/or import the approved generic version of

the VIVLODEX® product throughout the United States, including in this judicial district.

        41.      On information and belief, following FDA approval of ANDA No. 209-487, LPI,

as the marketing and sales agent for Lupin Limited, will sell and/or offer to sell the approved

generic version of the VIVLODEX® product manufactured by Lupin Limited throughout the

United States, including in this judicial district.

        42.      Since receiving Lupin’s Paragraph IV Letter, and prior to the filing of the Initial

Complaint, Plaintiffs attempted to procure a copy of ANDA No. 209-487 from Lupin Limited.

Because the terms of the proposed offer would not allow Plaintiffs to meaningfully process the

information contained in the ANDA, including by not allowing Plaintiffs’ in-house scientists to

review the ANDA, Plaintiffs could not agree to the terms of the original offer. On January 30,

2017, counsel for Plaintiffs sent Lupin Limited’s counsel a letter in an attempt to negotiate

Plaintiffs’ access to ANDA 209-487. Lupin Limited’s counsel stated that Lupin Limited would
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not permit Plaintiffs’ in-house scientists to review the ANDA. As of the filing of the Initial

Complaint, the parties could not reach acceptable terms for accessing the ANDA.

       43.     Plaintiffs are not aware of any other means for obtaining information regarding

Lupin’s proposed generic Meloxicam capsules 5 mg and 10 mg. In the absence of such

information, Plaintiffs resort to the judicial process and the aid of discovery to obtain, under

appropriate judicial safeguards, such information as is required to confirm its allegations of

infringement and to present the Court evidence that Lupin’s proposed Meloxicam capsules 5 mg

and 10 mg fall within the scope of one or more claims of the ’734 patent.

       44.     Because they have been unable to obtain and test samples of Lupin’s proposed

generic Meloxicam capsules 5 mg and 10 mg, Plaintiffs allege the causes herein based primarily

on representations contained in Lupin’s Paragraph IV Letters and the other facts alleged herein.

       45.     Lupin’s efforts to seek FDA approval to market generic copies of VIVLODEX®

brand Meloxicam capsules 5 mg and 10 mg prior to expiration of the ’734 patents constitute acts

of infringement pursuant to 35 U.S.C. § 271(e)(2) and thus create a justiciable controversy

between the parties with respect to the subject matter of Lupin’s ANDA and the ’734 patent,

which has been challenged in Lupin’s Paragraph IV Notice.

                                          COUNT ONE

  Infringement of the ’734 Patent Under 35 U.S.C. § 271(e)(2) by Lupin’s Proposed Generic
                            Meloxicam capsules 5 mg and 10 mg

       46.     Plaintiffs allege paragraphs 1 through 45 above as if set forth herein.

       47.     Lupin Limited submitted ANDA No. 209-487 to the FDA under section 505(j) of

the FDCA to obtain approval to engage in the commercial manufacture, importation, use, sale, or

offer for sale of its proposed generic Meloxicam capsules 5 mg and 10 mg throughout the United

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States. By submitting this application, Lupin Limited has committed an act of infringement of

the ’734 patent under 35 U.S.C. § 271(e)(2)(A).

        48.     On information and belief, LPI participated in, contributed to, aided, abetted

and/or induced the submission of ANDA No. 209-487. LPI’s participation in, contribution to,

aiding, abetting and/or inducement of the submission of ANDA No. 209-487 constitutes an act of

infringement of the ’734 patent under 35 U.S.C. § 271(e)(2)(A).

        49.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg will constitute an act of direct

infringement of the ’734 patent.

        50.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg in violation of Plaintiffs’ patent rights

will cause harm to Plaintiffs for which damages are inadequate.

        51.     Unless and until Lupin is enjoined from infringing the ’734 patent Plaintiffs will

suffer irreparable injury for which damages are an inadequate remedy.

        52.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

inter alia, an order of this Court stating that the effective date of approval for Lupin’s ANDA be

a date that is not earlier than the expiration date of the ’734 patent.

                                           COUNT TWO

    Declaratory Judgment of Infringement of the ’734 Patent Under 35 U.S.C. § 271(a) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

        53.     Plaintiffs allege paragraphs 1 through 52 above as if set forth herein.

        54.     This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

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       55.     There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and

that actual case or controversy requires a declaration of rights by this Court.

       56.     On information and belief, Lupin will engage in the commercial manufacture, use,

offer for sale, sale and/or importation of its proposed generic Meloxicam capsules 5 mg and 10

mg immediately and imminently upon approval of ANDA No. 209-487.

       57.     Lupin’s actions, including but not limited to, the development of its proposed

generic Meloxicam capsules 5 mg and 10 mg, and the filing of an ANDA with a Paragraph IV

certification, reliably predict that Lupin has made and will continue to make, substantial

preparation in the United States, including the District of Maryland, to manufacture, sell, offer to

sell, and/or import Lupin’s proposed generic Meloxicam capsules 5 mg and 10 mg.

       58.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg will constitute an act of direct

infringement of the ’734 patent.

       59.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg in violation of Plaintiffs’ patent rights

will cause harm to Plaintiffs for which damages are inadequate.

       60.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale and/or importation of Lupin’s proposed generic Meloxicam

capsules 5 mg and 10 mg before patent expiration by Lupin will constitute direct infringement of

the ’734 patent.

       61.     Unless and until Lupin is enjoined from infringing the ’734 patent, Plaintiffs will

suffer irreparable injury for which damages are an inadequate remedy.
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                                         COUNT THREE

    Declaratory Judgment of Infringement of the ’734 Patent Under 35 U.S.C. § 271(b) by
              Lupin’s Proposed Generic Meloxicam capsules 5 mg and 10 mg

        62.    Plaintiffs allege paragraphs 1 through 61 above as if set forth herein.

        63.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        64.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and

that actual case or controversy requires a declaration of rights by this Court.

        65.    On information and belief, Lupin will engage in the commercial manufacture, use,

offer for sale, sale and/or importation of its proposed generic Meloxicam capsules 5 mg and 10

mg immediately and imminently upon approval of ANDA No. 209-487.

        66.    Lupin’s actions, including but not limited to, the development of its proposed

generic Meloxicam capsules 5 mg and 10 mg, and the filing of an ANDA with a Paragraph IV

certification, reliably predict that Lupin has made and will continue to make, substantial

preparation in the United States, including the District of Maryland, to manufacture, sell, offer to

sell, and/or import Lupin’s proposed generic Meloxicam capsules 5 mg and 10 mg.

        67.    On information and belief, Lupin will include within the packaging of its

proposed generic Meloxicam capsules 5 mg and 10 mg, or will otherwise make available to

prospective patients upon FDA approval, a label and/or instructions for use that instruct patients

to use the capsule claimed in the ’734 patent.

        68.    On information and belief, a patient’s use of Lupin’s proposed generic proposed

generic Meloxicam capsules 5 mg and 10 mg according to the instructions included in the label

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and/or instructions for use of those products will constitute an act of direct infringement of one

or more of the claims in the ’734 patent.

       69.     On information and belief, Lupin became aware of the ’734 patent no later than

when it was issued by the Patent Office and/or listed in the Orange Book as covering methods of

using the approved formulation of VIVLODEX®.

       70.     On information and belief, upon awareness of the ’734 patent, Lupin either

actually knew of the potential for infringement of one or more claims of the ’734 patent, or was

willfully blind as to the potential for that infringement at least because the label and/or

instructions for use instruct patients to use the capsule claimed in the ’734 patent.

       71.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg will constitute an act of active

inducement of infringement of the ’734 patent.

       72.     The commercial manufacture, importation, use, sale, or offer for sale of Lupin’s

proposed generic Meloxicam capsules 5 mg and 10 mg in violation of Plaintiffs’ patent rights

will cause harm to Plaintiffs for which damages are inadequate.

       73.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale and/or importation of Lupin’s proposed generic Meloxicam

capsules 5 mg and 10 mg before patent expiration by Lupin will constitute active inducement of

infringement of the ’734 patent.

       74.     Unless and until Lupin is enjoined from infringing the ’734 patent, Plaintiffs will

suffer irreparable injury for which damages are an inadequate remedy.




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                                     JURY TRIAL DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby request a trial by jury

of all issues so triable.

                                        RELIEF SOUGHT

        WHEREFORE, Plaintiffs request:

        A)      A judgment that Lupin has infringed the ’734 patent under 35 U.S.C. §

271(e)(2)(A) by submitting ANDA No. 209-487 under section 505(j) of the FDCA, and that the

commercial manufacture, use, offer to sell, or sale within the United States, and/or importation

into the United States, of Lupin’s proposed generic Meloxicam capsules 5 mg and 10 mg will

constitute an act of infringement of the ’734 patent;

        B)      An Order pursuant to 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

approval of Lupin’s ANDA No. 209-487 shall be a date which is not earlier than the expiration

date of the ’734 patent, as extended by any applicable period of exclusivity;

        C)      An injunction pursuant to 35 U.S.C. § 271(e)(4)(B) permanently enjoining Lupin,

its officers, agents, servants, employees, licensees, representatives, and attorneys, and all other

persons acting or attempting to act in active concert or participation with it or acting on its

behalf, from engaging in the commercial manufacture, use, offer to sell, or sale within the United

States, or importation into the United States, of any drug product covered by the ’734 patent;

        D)      A judgment declaring that if Lupin engages in the commercial manufacture, use,

offer to sell, sale, or importation of Lupin’s generic product disclosed in its ANDA No. 209-487

prior to the expiration of the ’734 patent, as extended by any applicable period of exclusivity, a

preliminary injunction and/or permanent injunction will be entered enjoining such conduct

pursuant to 35 U.S.C. § 283;
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       E)      A judgment declaring that if Lupin engages in the commercial manufacture, use,

offer to sell, sale, or importation of Lupin’s generic product disclosed in its ANDA No. 209-487

prior to the expiration of the ’734 patent, as extended by any applicable period of exclusivity,

Plaintiffs are entitled to damages or other monetary relief resulting from such infringement under

35 U.S.C. § 271(e)(4)(C);

       F)      A judgment issued pursuant to 28 U.S.C. § 2201 declaring that if Lupin, its

officers, agents, servants, employees, licensees, representatives, and attorneys, and all other

persons acting or attempting to act in active concert or participation with it or acting on its

behalf, engage in the commercial manufacture, use, offer for sale, sale, and/or importation of

Lupin’s proposed generic Meloxicam capsules 5 mg and 10 mg prior to the expiration of the

’734 patent, it will constitute an act of infringement of the ’734 patent;

       G)      A judgment that this is an exceptional case under 35 U.S.C. § 285, and that

Plaintiffs be awarded reasonable attorneys’ fees and costs;

       H)      An accounting for infringing sales not presented at trial and an award by the Court

of additional damages for any such infringing sales; and

       I)      Such other and further relief as the Court may deem just and proper.




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                                          Respectfully submitted,

                                          FISH & RICHARDSON P.C.



Dated: February 10, 2017          By: __/s/ Ahmed J. Davis___________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2017, a copy of this complaint, was electronically

filed in this case and that on February 10, 2017, another copy was mailed via first class mail,

postage prepaid, to the following members of Lupin’s counsel, both of whom were identified as

the agents authorized to accept service of process in Lupin’s Paragraph IV Letter:

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